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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,                        )
                                                 )
v.                                               )   CRIMINAL ACTION 06-138-KD-C
                                                 )
TAMARCUS MARKEITH THOMAS,                        )
  Defendant.                                     )


                                            ORDER

       This matter is before the Court on Defendant Tamarcus Markeith Thomas’ motion for a

reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) based on Amendment 706 to the United

States Sentencing Guidelines (Doc. 212).

       Amendment 706 is one of several recent amendments to Section 2D1.1 of the Sentencing

Guidelines. Amendment 706, which was later amended and then made retroactive on May 1,

2008, had the effect of reducing the sentencing ranges for offenses involving particular quantities

of crack cocaine. See U.S. Sentencing Guidelines Manual app. C, amends. 706, 711 & 716

(2011). However, in 2010, the Sentencing Commission promulgated and then in 2011 made

retroactive a subsequent amendment that further reduced the guideline ranges for certain crack

cocaine offenses. See id. at amends. 748 & 750. On January 30, 2012, this Court granted

Defendant’s motion for relief pursuant to the later amendments.             (Docs. 208 & 210).

Accordingly, Defendant has already received the full benefit of any § 3582(c)(2) modification to

which he is entitled, and his motion for further modification is DENIED as MOOT.

       DONE and ORDERED this the 23rd day of March 2012.

                                             /s/ Kristi K. DuBose
                                             KRISTI K. DuBOSE
                                             UNITED STATES DISTRICT JUDGE



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